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4    Attorney for Defendant
     Janelle Miller
5

6                         UNITED STATES DISTRICT COURT
7                        EASTERN DISTRICT OF CALIFORNIA

8

9
     UNITED STATES OF AMERICA         )      No. Cr.S-06-495 MCE
10                                    )
                     Plaintiff        )      STIPULATION AND PROPOSED ORDER
                                      )      CONTINUING STATUS
11             v.                     )
                                      )      Date:     August 13, 2009
12                                    )      Time:     9:00 AM
                                      )      Court:    MCE
13   JANELL MILLER                    )
                                      )
14                                    )
                     Defendants       )
15                                    )

16
          IT IS HEREBY STIPULATED AND AGREED by the parties through
17
     their respective attorneys that the above referenced matter,
18
     presently calendared for Thursday, June 15, 2009, at 9:00 AM,
19
     for status conference be rescheduled for August 13, 2009 at 9:00
20
     AM for status conference.
21

22        The defendants requests that this case be continued in

23   order that the parties may continue to work on and finalize the

24   details of a possible resolution.

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1         It is further stipulated that the period from June 25,

2    2009,   through and including August 13, 2009 be excluded in
3    computing the time within which trial must commence under the
4
     Speedy Trial Act, pursuant to 18 U.S.C. §3161(h)(8)(B)(iv) and
5
     Local Code T-4, for continuity and preparation of counsel.
6

7
     Respectfully submitted,
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9
     DATED: June 20, 2009                      /S/ MICHAEL B. BIGELOW
10                                             Michael B. Bigelow
                                               Attorney for Defendant
11                                             Jannell Miller
12   DATED: June 20, 2009                      /S/ JASON HITT
                                               Jason Hitt
13
                                               Attorney for plaintiff
14

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16
     IT IS SO ORDERED.
17
     DATED: June 23, 2009
18
                                     __________________________________
19                                   MORRISON C. ENGLAND, JR
                                     UNITED STATES DISTRICT JUDGE
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